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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA

                                  Honorable M. James Lorenz

UNITED STATES OF AMERICA                         §
     Plaintiff,                                  §
                                                 §
V.                                               §   CRIMINAL CASE NO. 05-CR-1629-L(7)
                                                 §   ORDER TO CLOSE INTEREST
BLANCA TREVINO                                   §   BEARING ACCOUNT AND DISBURSE
    Defendant.                                   §   FUNDS

       GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the Clerk release the

amount of $10,000.00 dollars, plus interest, from the interest bearing account in the above entitled

cause to Graciela G. Padron, 6510 Pemview, San Antonio, Texas 78240.

       IT IS FURTHER ORDERED that the Clerk is authorized to deduct ten percent of the

earned interest, as authorized by the Judicial Conference of the United States.

       IT IS SO ORDERED.

Dated: ________________________________
          May 21, 2007                               ____________________________________
                                                      xxxxxxxxxxxxx
                                                     Name  of Judge
                                                     United States District Judge
